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                                                                                              October 28, 2021

    The Hon. U.S. District Judge Ronnie Abrams
    Thurgood Marshall United States Courthouse
    40 Foley Square
    New York, NY 10007

            Re: Hammond-Williams et al v. Fuchs et al, 21-cv-1121 (RA) – Final Extension Request

    Dear Judge Abrams,

          On behalf of Ms. Eddie B. Hammond, the undersigned requests one final extension to refile their
    Complaint in the above-referenced matter.

             As Your Honor is aware, after filing my Notice of Appearance on September 15, 2021, the Court
    granted my extension request until November 1, 2021 to refile the Plaintiff’s Complaint. Since that time,
    we have diligently sought, requested, and gathered documentation to support the legal elements of each
    prospective cause of action. Much of this documentation, including contractual paperwork, spans the
    course of two decades, and at times there have been delays in retrieving that paperwork, including with
    respect to some of the recent estate related documentation for Mr. Roy C. Hammond. Due to some
    outstanding documentation that we need to verify prior to bringing claims that could otherwise be
    summarily dismissed on a Rule 12(b)(6) motion, we are requesting one final extension to November 18,
    2021 to refile the Complaint.

            This request is made in good faith and without prejudice to the defense, as all potential claims
    considered fall squarely within the applicable statutes of limitations.

            I thank Your Honor for your consideration.

                    Regards,



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